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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND


INCAP SERVICE COMPANY,                              *

                Plaintiff                           *
v.                                                         Civil Action No. : CCB 04-CV-1592
                                                    *
THE COMMUNITY REINVESTMENT ACT
QUALIFIED INVESTMENT FUND, et al.                   *

                Defendants                          *

*       *       *       *        *   *      *       *      *       *      *      *       *



        MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S MOTION TO DENY

                 DEFENDANTS’ MOTION TO DISMISS PURSUANT TO RULE 12



        Plaintiff InCap Service Company (hereinafter “InCap”) submits this Memorandum of Law in

opposition to Defendants Community Reinvestment Act Qualified Investment Fund (hereinafter “CRA

Fund”) and CRAFund Advisors, Inc. (hereinafter “CRA Advisor”) motion to dismiss pursuant to Rule

12(b)(2), (3), (4), (5) & (6).

        This Honorable Court, sitting in diversity, may validly exercise personal jurisdiction over both

nonresident Defendants CRA Fund and CRA Advisor. Defendants’ motion to dismiss under Fed. R.

Civ. P. 12(b)(2) should be denied. During the period in question, Defendants consistently engaged in

business in Maryland and held themselves out as such. Representatives of the Defendants met with

InCap personnel in Maryland, sold securities to Maryland residents, managed assets for Maryland

residents, charged fees to Maryland residents, paid bills rendered from Maryland and corresponded with
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InCap personnel in Maryland. In that context, Defendants’ reliance on the facts that (i) an agreement

between the parties was executed in another state and (ii) Defendants had no office in Maryland falls far

short of dispossessing this court of jurisdiction over this matter. This Court may exercise jurisdiction

over nonresident Defendants, as provided in Maryland’s long-arm statute. Md. Cts. & Jud. Proc. Code

Ann. § 6-103(b) (1995 Repl. Vol.). Furthermore, extending jurisdiction over these Defendants in this

matter does not come close to surpassing the limits on jurisdictional reach imposed by the Due Process

Clause of the Fourteenth Amendment of the United States Constitution. To the contrary, it would be

unfair to InCap and the State of Maryland to dismiss InCap’s complaint after the Defendants conducted

business in Maryland and with Maryland residents.         That is especially true where, as here, the

Defendants hold themselves out as operating on a nationwide basis and a contract between the parties

expressly contemplates that courts outside of the state where the contract was entered into may have

jurisdiction over the parties.

        Defendants’ motion to dismiss under Fed. R. Civ. P. 12(b)(3), (4) & (5) should also be denied.

Venue is proper in the United States District Court for the District of Maryland pursuant to 28 U.S.C. §

1391(a)(1) & §1391(c). Service of process was sufficient because a summons – which was signed,

sealed and issued by the clerk of the District Court of Maryland – was properly addressed to Defendants

and sent to counsel for Defendants as stipulated in Fed. R. Civ. P. 4(b). Secondly, the necessary copies

of the summons and complaint were sent together as set out in Rule 4(c)(1).

        Finally, Defendants’ motion to dismiss CRA Advisor pursuant to Rule 12(b)(6) should also be

denied because CRA Advisor’s actions and relationship with CRA Fund, as it relates to these

proceedings, are part and parcel of the functioning of CRA Fund. CRA Fund has no employees, payroll,

ability to pay bills, or office aside from CRA Advisor. As structured and designed by the Defendants,



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CRA Fund has no capacity to operate on its own and must use the expertise, guidance and services

provided by CRA Advisor for all of its activities, including all of the relevant activities in this case,

including paying bills, communicating with InCap employees, meeting with InCap employees and

soliciting the sales of securities in Maryland.



                                        STATEMENT OF FACTS


          InCap, formerly Declaration Service Company, and CRA Fund entered into an Investment

Company Services Agreement on June 1, 1999. See Investment Company Services Agreement, attached

hereto as Exhibit B (the “Services Agreement”). InCap Group, Inc. purchased Declaration Service

Company on October 31, 2001.          On December 15, 2001, InCap Service Company, a subsidiary of

InCap Group, Inc., was assigned all responsibility of the former Declaration Service Company under the

Services Agreement and became the new Administrator to CRA Fund. Thereafter, InCap provided fund

administration, fund accounting, shareholder servicing, distribution and transfer agency services to the

Defendants until the Defendants terminated the business relationship between themselves and InCap in

2003.

          On May 20, 2004, InCap filed suit against the Defendants in the United States District Court

for the District of Maryland, alleging breach of the Services Agreement. CRA Fund breached the

Services Agreement by failing to compensate InCap for services provided to the Defendants. InCap

attempted to negotiate payment with Defendants and Defendants’ counsel multiple times over the past

nine months. Affidavit of F. James Tennies, dated July 3, 2004, attached hereto as Exhibit A, at ¶ 7.

Despite the fact that representatives of the Defendants have previously acknowledged financial

responsibility under the Services Agreement, Tennies Affidavit, at ¶ 6, Defendants did not make an


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attempt to reach a negotiated agreement.        On May 20, 2004, InCap notified Mary E. Kohart,

Defendants’ lead counsel, located in Philadelphia, that InCap had instituted suit against Defendants in

the District of Maryland. Ms. Kohart requested that InCap send a courtesy copy of the complaint to her

for review, which InCap obliged willingly and without objection. Tennies Affidavit, at ¶ 3.

       Defendants assert that this Court may not exercise general jurisdiction over them and that their

conduct within, and with regard to, Maryland is not sufficiently continuous or systematic for a Maryland

court to exercise personal jurisdiction over them. Defendants’ Motion to Dismiss, pp. 2-3.    In fact, this

Court has general jurisdiction over Defendants due to Defendants’ business transactions and contacts

with Maryland residents, including Plaintiff.



                  ARGUMENT IN OPPOSITION TO DEFENDANTS’ MOTION


A. Plaintiff’s Cause Of Action Against Defendants Is Within the Scope of Maryland’s Long Arm

Statute.

       Courts in Maryland may exercise personal jurisdiction over a nonresident business enterprise,

such as Defendants, provided the State’s long arm statute confers such jurisdiction. Nichols v. G.D.

Searle & Co., 991 F.2d 1195, 1199 (4th Cir. 1993). The Maryland long arm statute confers such

jurisdiction because it provides that a court may exercise personal jurisdiction over a person who,

directly or by an agent, transacts any business or performs any character of work or service in the State.

Md. Cts. & Jud. Proc. Code Ann.§ 6-103(b)(1) (1995 Repl. Vol.).

   According to CRA Fund’s publicly available website, CRA Fund actively participates in the

distribution and sale of mutual fund shares to Maryland residents and currently has a substantial list of

Maryland-resident investors. Secondly, and in direct relation to InCap’s breach of contract claim against


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CRA Fund, Neil Solomon former President of CRA Fund, met with F. James Tennies at InCap’s

headquarters in Baltimore, Maryland to discuss business relations between the two companies. Tennies

Affidavit, at ¶ 4.    Finally, all correspondence, including payment for fees, between CRA Fund

management and InCap was sent to InCap’s headquarters in Baltimore, Maryland. Tennies Affidavit, at

¶ 8. Thus, it is clear that CRA Fund is transacting business with InCap in Maryland as well as with

Maryland residents, and thereby submitting to this Court’s jurisdiction.

   In their Motion to Dismiss, the Defendants contend that “any allegation of general jurisdiction would

be without merit,” and further argue that Defendants have no place of business in Maryland, conduct no

continuous or systematic business in Maryland and that activity in Maryland in relation to the sale of

securities is sporadic. Defendants’ claims that (i) sporadic sales of securities are insufficient contacts

with Maryland and (ii) that they have no active business in Maryland are baseless. Defendants hold

themselves out as selling products to Maryland residents, listing numerous Maryland-based residents as

clients. Defendants currently have, and in the past have had, clients in Maryland. Literally every day of

the year, Defendants charge fees to Maryland residents, manage assets for Maryland residents and offer

to sell securities to Maryland residents, making Defendants’ contacts with Maryland more than sporadic.

   Even if the Defendants could validly assert that they have only sporadic business contacts with

Maryland, that position would not provide them the result they seek. Courts have made a distinction

between “doing business” and “transacting business.” Even if the Defendants’ actions here did not rise

to the level of “doing business” in Maryland, courts can and do exercise jurisdiction if a party engages in

activities that meet the lower standard of “transacting business” in Maryland. The reason for this is to

effectuate the underlying purposes of the Maryland long arm statute by not allowing business enterprises

to conduct business transactions in Maryland and then stiff-arm Maryland residents seeking recompense



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with the assertion that Maryland courts do not have jurisdiction over such business enterprises. Prince

v. Illien Adoptions International, LTD, 806 F. Supp. 1225, 1228-29 (D. Md. 1992); Snyder v. Hampton

Industries, Inc., 521 F. Supp. 130, 137 (D. Md. 1981). Specifically, in Snyder, this Court exercised

jurisdiction over a North Carolina defendant who expected his products to enter Maryland, despite the

fact that defendant had never entered the State, had no license to do business in Maryland, nor had any

assets, accounts, offices or telephone listing in Maryland.      521 F. Supp. at 147.      Similarly, the

Defendants here expect to (and indeed do) deliver their securities products to Maryland residents who

purchase such securities. On a daily basis, Defendants manage assets for Maryland residents and charge

fees to Maryland residents. And, unlike Snyder, senior officers of the Defendants visit Maryland to

transact business.

   Finally, the Maryland Court of Special Appeals has held that a nonresident defendant will be deemed

to have “transacted business” in Maryland within the meaning of subsection (b)(1) of the Maryland long

arm statute even if the nonresident defendant never physically enters Maryland personally or through an

agent, as long as one or more of its actions culminate in “purposeful activity” within the State. Sleph v.

Radtke, 76 Md. App. 418 (1988), cert denied, 314 Md. 193 (1988) (the fact that the nonresident

defendant executed a transaction in Maryland as part of an investment subjects the nonresident

defendant to long-arm jurisdiction). In meeting with InCap personnel in Maryland, in corresponding

with InCap personnel in Maryland, in paying bills rendered from Maryland, and in selling securities to

Maryland residents – each over a multi-year period – Defendants have gone far beyond the limited

actions needed to purposely avail themselves of commerce in Maryland, and thus subjecting themselves

to the jurisdiction of the Maryland courts. For them to assert otherwise is an offense to reason and to

this Court.



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       When a court is adjudicating a motion for dismissal for lack of personal jurisdiction, a plaintiff

need only prove a prima facie case, with all reasonable inferences being resolved in the plaintiff’s favor.

Hardnett v. Duquesne University, 897 F. Supp. 920, 921-22 (D. Md. 1995). All facts and reasonable

inferences point to Defendants’ having availed themselves of commerce in Maryland and being subject

to personal jurisdiction in Maryland. With the facts here, one need not make many inferences favorable

to the Plaintiff to conclude that this matter should not be dismissed. In fact, it can readily be inferred

that the Defendants have taken many purposeful steps to maintain contacts with Maryland and to

transact business in Maryland and with Maryland residents, including the Plaintiff.             Therefore,

Defendants need not have a place of business in Maryland or own property in Maryland for Maryland

courts to have jurisdiction.   Those are but red herrings.

   The facts remain that the Defendants have in the past and continue to actively transact business in

Maryland as well as purposefully to avail themselves of Maryland residents and businesses through the

sale of securities to Maryland residents. Defendants’ claim that they have no connection to Maryland

rings hollow when Defendants earn and collect fees on a daily basis from Maryland residents and have

done so for years, manage assets for Maryland residents, meet with Maryland residents in Maryland and

negotiate business deals in Maryland. Jurisdiction is not a one-way street, allowing Defendants to

operate in this state when collecting fees and conducting business but blithely opting out of the court

system when fees are due from them. Many people and businesses would like such an arrangement.

Our system of laws does not permit it.




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B. Plaintiff’s Cause Of Action Against Defendants Does Not Interfere With Defendants’ Due

Process Rights Under The Fourteenth Amendment.



       The Due Process Clause does not limit the exercise of personal jurisdiction over these

Defendants by this Honorable Court because Defendants have established requisite minimum contacts

with Maryland.    Due process requires, in order to subject a non-resident defendant to a judgment, in

personam, that the defendant must have certain minimum contacts with the forum such that the

maintenance of the suit does not offend “traditional notions of fair play and substantial justice.” Int’l

Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).

       Defendants have established minimum contacts well beyond those needed for this Court to

exercise general jurisdiction. A court may exercise judicial power over a non-resident defendant by

finding “continuous and systematic” contacts and thereby exercise general jurisdiction. The Christian

Science Board of Directors of the First Church of Christ v. Nolan, 259 F.3d 209, 215 (4th Cir. 2001).

Defendants have maintained “continuous and systematic” contacts with Maryland by purposely availing

themselves of business relationships in Maryland, including with Plaintiff and other residents of

Maryland, by maintaining contacts with purchasers of their securities in Maryland, by charging fees to

Maryland residents and by making available a public website which touts sales to Maryland residents

and which contains telephone numbers and e-mail addresses for the purpose of obtaining information

about Defendants for, inter alia, the purpose of soliciting sales in Maryland. The touchstone of the

minimum contacts analysis is that a non-resident defendant has engaged in activities that are directed

towards the forum state. Lesnick v. Hollingsworth & Vose Co., 35 F.3d 939, 945 (4th Cir. 1994).

Defendants’ marketing and solicitation activities within Maryland are particular, deliberate and



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calculated. It is not the case that Defendants have sold securities products that have arbitrarily or

randomly come into the hands of Maryland residents. Rather, Defendants sales practices are initiated

specifically so as to reach Maryland residents, for example by noting that other Maryland residents have

purchased securities from the Defendants. Defendants approve each sale of securities on an individual

basis, including those to Maryland residents. In Lesnick, the Court of Appeals test to consider the reach

of personal jurisdiction involved (1) the defendants’ substantial connection with the forum state by

action purposefully directed toward the forum state or otherwise invoking the benefits and protections of

the laws of the state as well as (2) not offending fair play and substantial justice, taking into account the

burden on defendants and interests of the forum state in furthering social policies. Id.

       Due Process requires that there be some act by which a defendant purposely avails itself of the

privileges of conducting activities within a forum State, thus invoking the protections of its laws. Hardy

v. Pioneer Parachute Co., 531 F.2d 193, 195 (4th Cir. 1976). Defendants’ conduct and expectation from

doing business with a company in Maryland and marketing and selling products to Maryland residents

makes its reasonable that it will be subject to the Maryland courts. World-Wide Volkswagen Corp. v.

Woodson, 444 U.S. 286, 297 (1980). Requiring a nonresident defendant to defend a lawsuit in Maryland

based on a Maryland plaintiff’s claim that is directly related to Defendants’ contract with that Plaintiff

would not offend the Due Process Clause. Prince, 806 F. Supp. at 1231. Furthermore, although the

contract between InCap and Defendants was originally executed in Pennsylvania, Defendants have met

with clients, prospects and representatives of InCap in Maryland and directed pertinent correspondence

regarding the Services Agreement with InCap, to Plaintiff’s Baltimore, Maryland headquarters. Tennies

Affidavit at ¶¶ 4, 5 and 8.




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        Finally, InCap’s suit in this Honorable Court in no way presents a burden on Defendants.

Defendants are managed by sophisticated financial professionals who have availed themselves of

business in a majority of the United States, according to Defendants’ website. Exercising personal

jurisdiction over Defendants is in the best interests of Maryland so as to be able to protect its resident

citizens and domestic corporations from willful breaches of contract by non-resident defendants. It is

further in the best interests of this state for this Honorable Court to exercise jurisdiction so as to promote

this effort and any other Maryland plaintiff’s efforts in future contractual negotiations with non-resident

parties, without fear that a breaching party can rebuff jurisdiction in the offended party’s home state.

        The contract between InCap and CRA Fund specifically stipulates that any Federal court with

personal jurisdiction is an appropriate venue for any action arising under the Services Agreement, a

clause specifically negotiated by the Defendants. See Exhibit B, Section 19. Therefore, based on

Defendants’ regular contacts with Maryland, it is evident that personal jurisdiction exists so that this

Court has jurisdiction over Defendants. Such a conclusion is entirely consistent with the Services

Agreement between the parties. Secondly, defendants have breached the contract between the parties in

failing to make payment. Thus, it would be unfair and overly burdensome to require InCap, the non-

breaching party, to file suit in another jurisdiction.



C. Defendants’ Motion To Dismiss For Improper Venue Is Deficient And Should Be Denied.



        Plaintiff’s choice of venue is proper pursuant to 28 U.S.C. §1391(a)(1) and §1391(c).

Defendants contend they do not reside in Maryland and therefore even if personal jurisdiction is proper,

venue would be improper. Defendants’ Motion to Dismiss, pp. 7-8. In fact, it is Defendants’ claim that



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venue is lacking that itself is deficient. For one, a civil action founded on diversity of citizenship, such

as the one between these parties, may, except as otherwise provided by law, be brought in a judicial

district where any defendant resides, if all defendants reside in the same State. §1391(a)(1). In defining

residency, the statute provides that for purposes of venue, “a defendant that is a corporation shall be

deemed to reside in any judicial district in which it is subject to personal jurisdiction at the time the

action is commenced.” §1391(c). Here, both Defendants are subject to personal jurisdiction in Maryland

by actively transacting business in Maryland and, although not citizens of Maryland, the Defendants are

considered residents of Maryland for purposes of the venue statute due to their substantial contacts with

the state. The effect of §1391(c) was to broaden the general venue requirements for actions against

business enterprises, to bring venue law in line with multi-state business operations, and to provide a

forum in a judicial district where a business enterprise transacts business. Pure Oil Co. v. Suarez, 384

U.S. 202, 204 (1966) (even though a corporate defendant’s main office was in another state, venue was

proper in the district in which the corporate defendant was transacting business).



D. Defendants’ Motion To Dismiss For Insufficiency Of Process And Insufficiency Of Service Of

Process Should Be Denied.



       Process and service of process upon Defendants was sufficient and Defendants’ motion under

Rule 12(b)(4) & 12(b)(5) should be denied. Defendants claim that process was deficient because

Plaintiff sent only a copy of the complaint without the summons. Defendants’ Motion to Dismiss, p. 8,

n. 4. In point of fact, Plaintiff sent a courtesy copy several days prior to sending out the complaint and

summons together, as requested by Defendants’ counsel. Tennies Affadavit, ¶ 3. Defendants’ attempt



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to dismiss for insufficient process is an attempt to take advantage of InCap’s common courtesy, which,

in any event, had been expressly requested by Defendants’ counsel and agreed to by Plaintiff’s counsel.

InCap promptly notified Mary E. Kohart, Defendant’s counsel in Philadelphia, that a suit had been

instituted against Defendants after Defendants’ counsel had rebuffed attempts at negotiation. Tennies

Affidavit, ¶¶ 3, 7. Ms. Kohart then requested that InCap send a copy for her review, a courtesy that

InCap extended to Ms. Kohart. Tennies Affadavit, ¶ 3. InCap also relayed to Ms. Kohart that this was

not an attempt at service and merely an effort to extend courtesy by sending the preliminary copy.

Tennies Affidavit, ¶ 3. It is ridiculous, after that series of events, for Defendants’ counsel to now claim

that service was deficient.

       Secondly, the manner of service of process was sufficient because InCap sent both the summons

and complaint to Defendants’ counsel by certified mail, return receipt requested. Tennies Affidavit, ¶ 9.

Service complies with Maryland’s long arm statute and the State’s ability to exercise jurisdiction over

Defendants is in compliance with the Due Process Clause. Geelhoed v. Jensen, 277 Md. 220, 224, 352

A.2d 818, 821 (1976).




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         For the foregoing reasons, plaintiff InCap Service Company respectfully requests that this

Honorable Court deny Defendants’ motion to dismiss under Fed. Rule Civ. P. 12(b)(1), (2), (3), (4), (5)

& (6).



                                                                  Respectfully Submitted,



                                                                  /s/ F. James Tennies

Date: July 5, 2004                                                F. James Tennies

                                                                  Attorney for Plaintiff

                                                                  InCap Service Company
                                                                  320 North Charles Street
                                                                  Baltimore, Maryland 21201
                                                                  410.727.2100
                                                                  410.727.2106
                                                                  Bar Number: 27455




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                                 CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that on this 5th day of July, 2004, a copy of the foregoing Motion To Deny
Defendants’ Motion to Dismiss Pursuant to Rule 12 and Memorandum of Law with attached exhibits was
mailed first class, postage prepaid to:


                                          Mary E. Kohart
                                   Drinker Biddle & Reath LLP
                                        One Logan Square
                                      18th and Cherry Streets
                                 Philadelphia, Pennsylvania 19103

                                      Michael J. McManus
                                  Drinker Biddle & Reath LLP
                                      1500 K Street, N.W.
                                  Washington, D.C. 20005-1209

                                     Attorneys for Defendants


                                                                              /s/ F. James Tennies

                                                                                  F. James Tennies
                                                                              Attorney for Plaintiff




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